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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
DONALD HESS and ELIZABETH PADILLA,
individually and on behalf of all others similarly           Case No. 21-cv-04099(AT)(RWL)
situated,

                                               Plaintiffs,

                        -against-

BED BATH & BEYOND INC.,

                                             Defendant.




          DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
        MOTION TO DISMISS PLAINTIFFS’ THIRD AMENDED COMPLAINT
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                                      PRELIMINARY STATEMENT

         In their Third Amended Complaint (“TAC”), Plaintiffs Donald Hess, Elizabeth Padilla,

Judith Holland, Tika Jones, Harry Lichtman, Dawn Mesa, Alexandria Smith, and Emily Vahue

allege, on behalf of themselves and all other manual workers employed by Defendant Bed Bath &

Beyond, Inc. (“BBB”) in New York from September 24, 2014 to November 12, 2018, that they

were “manual workers” within the meaning of New York Labor Law (“NYLL”) § 191 and should

have been paid weekly instead of bi-weekly under that law. Hess, Jones, and Lichtman further

assert, on behalf of themselves and all members of the putative manual-worker class whom BBB

hired on or after April 9, 2011 and who did not receive a legally compliant wage notice under

NYLL § 195(1), violations of that section of the NYLL. The Court should dismiss these claims

for at least the following four reasons:1

         1)       This Court lacks jurisdiction over the claims asserted in the TAC under the Class

Action Fairness Act’s (“CAFA”) home-state exception because BBB and at least two-thirds of the

putative class members are citizens of New York.

         2)       Even if CAFA provided a basis for jurisdiction, Plaintiffs have not adequately

alleged that a one-week delay in payment of their wages under NYLL § 191 or their failure to

receive timely and accurate wage notices under NYLL § 195 actually harmed them as required to

support Article III standing.




    1
      BBB initially intended to move to dismiss Hess and Padilla’s Second Amended Complaint and oppose their
request for leave to file the TAC. BBB has reconsidered its position on the TAC and withdraws its opposition to
Plaintiffs’ request for leave to file it in large part because of efficiency concerns and the Court’s comments during the
May 12, 2022 status conference about its view that Plaintiffs’ counsel’s efforts to solicit additional class members is
not the type of bad faith that would preclude amendment. (See ECF No. 75 at 4:9–16, 9:13–22.) In the event that the
Court does not allow Plaintiffs to file the TAC, BBB respectfully requests that the Court dismiss the SAC and deny
Plaintiffs’ request for leave to file the TAC on the grounds of futility for the reasons set forth herein.


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       3)      Assuming that this Court had jurisdiction over Plaintiffs’ claims, their claims under

NYLL § 191 fail as a matter of law because they do not have a private right of action to pursue

such claims.

       4)      Where, as here, employees have not suffered any actual harm as a result of

purported violations of NYLL § 191’s pay frequency provisions or of NYLL § 195’s notice

requirements, awarding them statutory damages in excess of $5,000,000 violates the Fourteenth

Amendment’s Due Process Clause.

                                 FACTUAL BACKGROUND

       In the TAC, Plaintiffs allege that they worked for BBB in various positions at numerous

stores throughout New York State. (ECF No. 89-1 ¶¶ 35–60.) Despite their disparate employment

settings, they claim that they spent at least 25% of their working time engaged in physical labor,

making them “manual workers” under NYLL § 191, and that BBB’s paying them on a bi-weekly,

as opposed to weekly, basis violated NYLL § 191. (Id. ¶¶ 5, 61–65.) Based on these allegations,

they assert violations of NYLL § 191’s pay frequency provisions on behalf of themselves and a

class of all other “manual workers” employed by BBB in New York State from September 24,

2014 to November 12, 2018 (the “Delayed Wages Class”). (Id. ¶¶ 11, 70–76.) They superficially

contend that BBB’s alleged violations of NYLL § 191 “injured and harmed” them because “they

were not timely paid their wages and were thus deprived of the timely receipt and ability to use

their money.” (Id. ¶ 77.) Notably, they do not seek any actual damages on this claim, opting

instead to seek maximum liquidated damages and other forms of statutory relief. (Id. ¶ 78.)

       Additionally, Hess, Jones, Lichtman allege that BBB’s wage-theft notices did not contain

the information required, and were not provided to them by the time mandated, by NYLL § 195

on behalf of themselves and certain members of the Delayed Wages Class who were hired on or

after April 9, 2011 but who purportedly did not receive compliant or timely wage-theft notices (the
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“Hiring Notice Subclass”). (Id. ¶ 20.) They baldly assert that BBB’s alleged failure to comply

with NYLL § 195’s notice requirements “injured” them because it inexplicably led to their being

“paid wages in an untimely manner.” (Id. ¶ 24.) Like Plaintiffs’ NYLL § 191 claim, Hess, Jones,

and Lichtman seek only statutory damages—namely, $50 per day for each alleged violation of

NYLL § 195, up to a maximum of $5,000 per employee—on their notice claims. (Id. ¶ 86.)

        In total, Plaintiffs claim that their statutory damages exceed $5,000,000. (Id. ¶ 6.) As such,

they invoke this Court’s jurisdiction under CAFA. (Id.)

                            APPLICABLE LEGAL PRINCIPLES

I.      Rule 12(b)(1) Motion to Dismiss Standard

        This Court “may properly dismiss a case for lack of subject matter jurisdiction under Rule

12(b)(1) if it lacks the statutory or constitutional power to adjudicate it.” Aurecchione v.

Schoolman Transp. Sys., Inc., 426 F.3d 635, 638 (2d Cir. 2005) (internal quotation marks and

citations omitted). When a Rule 12(b)(1) motion is based on the face of the complaint, the Court

must determine whether the complaint “‘allege[s] facts that affirmatively and plausibly suggest

that [the plaintiff] has standing to sue.’” Carter v. HealthPort Techs., LLC, 822 F.3d 47, 56 (2d

Cir. 2016) (quoting Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d Cir. 2011));

accord Maddox v. Bank of New York Mellon Tr. Co., N.A., 19 F.4th 58, 65–66 (2d Cir. 2021)

(stating that, at the pleadings stage, a plaintiff “must ‘plead enough facts to make it plausible that

they did indeed suffer the sort of injury that would entitle them to relief’” (quoting Harry v. Total

Gas & Power N. Am., Inc., 889 F.3d 104, 110 (2d Cir. 2018))).

II.     Rule 12(b)(6) Motion to Dismiss Standard

        To survive a Rule 12(b)(6) motion to dismiss, a complaint must plead sufficient factual

allegations that, if accepted as true, ‘“state a claim to relief that is plausible on [their] face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

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570 (2007)) (internal quotation marks omitted). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). A plaintiff is not

required to provide “detailed factual allegations” in the complaint, but must assert “more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 555 (citation omitted). Ultimately, the facts pleaded in the complaint “must

be enough to raise a right to relief above the speculative level.” Id. (citation omitted).

                                           ARGUMENT

III.     The Court Must Decline to Exercise Jurisdiction Over the TAC Under CAFA’s
         Home-State Exception.

         “CAFA provides the federal district courts with ‘original jurisdiction’ to hear a ‘class

action’ if the class has more than 100 members, the parties are minimally diverse, and the ‘matter

in controversy exceeds the sum or value of $5,000,000.’” Standard Fire Ins. Co. v. Knowles, 568

U.S. 588, 592 (2013) (quoting 28 U.S.C. § 1332(d)(2), (d)(5)(B)). Its “purpose was to expand the

availability of federal jurisdiction over class actions with nationwide import even in the absence

of complete diversity.” Stellato v. Hofstra Univ., No. CV201999GRBARL, 2022 WL 2222875,

at *1 (E.D.N.Y. June 17, 2022) (citing Blockbuster, Inc. v. Galeno, 472 F.3d 53, 56 (2d Cir. 2006)).

“Consistent with this purpose, CAFA contains mandatory exceptions that direct a district court to

‘decline jurisdiction’ over class actions that primarily concern local or state interests.” Id.

(emphasis added). One of those exceptions is the home-state exception, which “requires the court

to decline jurisdiction if two-thirds or more of the proposed class and the primary defendants are

citizens of the state in which the action was filed.” Id. (citing 28 U.S.C. § 1332(d)(4)(B))

(emphasis added). Both elements are met here.




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            Plaintiffs filed this case in New York. See 28 U.S.C. 112(b). The only named defendant,

BBB, is “incorporated in New York.” (See ECF No. 89-1 ¶ 33.) Thus, it is a citizen of New York

for diversity purposes. See 28 U.S.C. § 1332(c)(1). As for the citizenship of the putative class

members, Plaintiffs’ counsel has conceded that at least two-thirds of them are citizens of New

York. (See ECF No. 96 at 1 (“Plaintiffs will not contest that 2/3 of the class members reside in

New York.”); see also id. at 2 (“Plaintiffs … agree for the purposes of the motion that at least 2/3

of the class members are residents of New York, and therefore statistical evidence as to the

residence of the class members is unnecessary.”).)2 Hence, this Court must “decline to exercise

jurisdiction” over this case under the home-state exception to CAFA.                           See 28 U.S.C. §

1332(d)(4)(B) (stating courts “shall” decline to exercise jurisdiction); see also e.g., Stellato, 2022

WL 2222875, at *2 (declining to exercise jurisdiction “as required by” the home-state exception).

IV.         Plaintiffs Lack Standing to Pursue Their Claims.

            A.     Article III Standing Requires Plaintiffs to Plausibly Allege an Injury in Fact.

            To satisfy the “irreducible constitutional minimum” of Article III standing, a plaintiff bears

the burden of establishing (i) “injury in fact,” (ii) a “causal connection” between that injury and

the complained-of conduct, and (iii) a likelihood “that the injury will be redressed by a favorable

decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (internal quotation marks and


      2
      Even if Plaintiffs did not concede that at least two-thirds of the putative class members were citizens of New
York, this Court could infer that fact. See Kurovskaya v. Project O.H.R., Inc., 251 F. Supp. 3d 699, 703 (S.D.N.Y.
2017) (“A [c]ourt may infer citizenship for the purposes of evaluating whether the citizenship requirement of a CAFA
exception has been met by the moving party.”) (collecting cases). Indeed, in a putative class action alleging improper
deductions from wages under NYLL § 193, then-District Judge Chin held that it was “reasonably likely that more than
two-thirds of the putative class members of the proposed class—all of whom work in New York—are citizens of New
York.” See Mattera v. Clear Channel Commc’ns, Inc., 239 F.R.D. 70, 80 (S.D.N.Y. 2006). In the absence of
Plaintiffs’ concession as to the citizenship of the putative class members, the Court could draw the same inference as
Judge Chin in Mattera because the putative class members are individuals who worked for BBB in New York. (See
ECF No. 89-1 ¶ 11.) Notably, seven out of the eight named Plaintiffs (or 87.5% of them) reside in New York. (See
ECF No. 89-1 ¶¶ 31–32.) To the extent the Court requires additional information concerning the citizenship of the
putative class members, BBB respectfully requests leave to compile that information within three weeks of the Court’s
order granting such leave.


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citations omitted); accord Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). “[T]he ‘[f]irst and

foremost’ of standing’s three elements” is the injury-in-fact requirement. Spokeo, 578 U.S. at

338–39 (quoting Steel Co. v. Citizens for Better Env., 523 U.S. 83, 103 (1998)). To satisfy this

requirement, a plaintiff must establish a harm that is “‘concrete and particularized’ and ‘actual or

imminent, not conjectural or hypothetical.’” Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at

560). Applying this requirement, the Supreme Court has held that bare statutory violations, devoid

of any actual harm, are insufficient to confer Article III standing on a plaintiff, even where the

relevant statute authorizes the recovery of statutory damages. See TransUnion LLC v. Ramirez,

594 U.S. ---, 141 S. Ct. 2190, 2205, 210 L. Ed. 2d 568 (2021) (“Article III grants federal courts

the power to redress harms that defendants cause plaintiffs, not a freewheeling power to hold

defendants accountable for legal infractions.” (quoting Casillas v. Madison Ave. Assocs., Inc., 926

F.3d 329, 332 (7th Cir. 2019) (Barrett, J.))); Spokeo, 578 U.S. at 341 (“[Plaintiff] could not …

allege a bare procedural violation, divorced from any concrete harm, and satisfy the injury-in-fact

requirement of Article III.”). Plaintiffs have not carried their burden to allege standing.

       B.      The Court Should Dismiss Plaintiffs’ § 191 Claims for Lack of Standing.

       Plaintiffs contend that they were manual workers who should have been paid weekly under

NYLL § 191 but were paid bi-weekly. In Rosario v. Icon Burger Acquisition, LLC, the Eastern

District dismissed a nearly identical claim for want of standing. See No. 21-CV-4313(JS)(ST),

2022 WL 198503 (E.D.N.Y. Jan. 21, 2022). There, the plaintiff sought “liquidated damages,

interest, and attorneys’ fees” because of the defendant’s alleged failure “to pay him weekly as

required by the NYLL.” See id. at *1, *3. Although the court recognized the economic axiom

that “‘[m]oney later is not the same as money now,’” the plaintiff’s complaint simply did not

include any “factual allegations that [he] forewent the opportunity to invest or otherwise use the

money to which he was legally entitled.” Id. at *3 (quoting Stephens v. U.S. Airways Grp., Inc.,
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644 F.3d 437, 442 (D.C. Cir. 2011) (Kavanaugh, J., concurring)). Accordingly, the court found

that he could not “plausibly claim he suffered a harm sufficiently concrete to establish Article III

standing.” Id. As the same is true here, the Court should dismiss Plaintiffs’ § 191 claims.

       In a futile effort to avoid this reality, Plaintiffs baldly allege that they “were injured and

harmed” because they “were not timely paid their wages and were thus deprived of the timely

receipt and ability to use their money.” (ECF No. 89-1 ¶ 77.) But they have not identified any

specific plan to invest or otherwise use the allegedly late payments during the time from when they

contend they should have been paid to when they were paid, or how, in fact, they suffered any

concrete harm based on any purported lost investment opportunity. As a result, the Court should

disregard their conclusory allegation that they were “injured,” find that they failed to plausibly

allege Article III standing, and dismiss their § 191 claims. See Amidax Trading Grp., 671 F.3d at

146 (refusing to “‘credit a complaint’s conclusory statements without reference to its factual

context’” on Rule 12(b)(1) motion to dismiss for lack of standing (quoting Iqbal, 556 U.S. at 686)).

       Indeed, the Second Circuit has recently dismissed two similar cases because the plaintiffs

had failed to allege specific facts regarding how the defendant’s conduct allegedly harmed them.

In Harty v. W. Point Realty, Inc., a plaintiff claimed that the defendant’s website violated the

Americans with Disabilities Act and alleged that, “in the near future,” he intended to use it “to

reserve a guest room.” 28 F.4th 435, 443 (2d Cir. 2022). The Second Circuit held that he lacked

standing to pursue that claim, reasoning that “[s]uch ‘some day’ intentions – without any

description of concrete plans, or indeed even any specification of when the some day will be – do

not support a finding of the ‘actual or imminent injury’ that Article III requires.” Id. (quoting

Lujan, 504 U.S. at 564) (internal quotation marks omitted).




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       Similarly, in Maddox, a plaintiff alleged that she had suffered emotional distress

attributable to the defendant’s failure to record a mortgage satisfaction within the time required by

New York law. 19 F.4th at 66. She did not, however, explain how the “delayed recordation would

cause” such distress. Id. Accordingly, the Second Circuit found that her “perfunctory allegation

of emotional distress … [was] insufficient to plausibly allege constitutional standing.” Id.

       Like the plaintiffs in Harty and Maddox, Plaintiffs have offered no specifics as to how

BBB’s alleged legal violation harmed them. They have not identified a specific investment

opportunity that they lost on account of the purported late payment. They have not pleaded that

they intended to deposit their paycheck in an interest-bearing account. And they have not alleged

that the late-paid money was earmarked for any particular investment or use, such that it resulted

in any concrete harm. As they have not carried their burden to allege a concrete harm, the Court

should dismiss their pay frequency claims. See Maddox, 19 F.4th at 66.

       C.      The Court Should Dismiss Hess, Jones, and Lichtman’s § 195’s Claims
               Because They Lack Standing to Pursue Them.

       Hess, Jones, and Lichtman claim that BBB’s wage-theft notices did not comply with, and

were not provided to them in the time required by, NYLL § 195. Such claims are bare procedural

violations devoid of actual harm and cannot give rise to Article III standing. See, e.g., Sevilla v.

House of Salads One LLC, No. 20CV6072PKCCLP, 2022 WL 954740, at *7 (E.D.N.Y. Mar. 30,

2022) (dismissing claims for violations of NYLL § 195(1)(a) and § 195(3) for want of standing);

Wang v. XBB, Inc., No. 18CV7341PKCST, 2022 WL 912592, at *13 (E.D.N.Y. Mar. 29, 2022)

(same); Francisco v. NY Tex Care, Inc., No. 19CV1649PKCST, 2022 WL 900603, at *7

(E.D.N.Y. Mar. 28, 2022) (same). Tellingly, they make no serious effort to contend that the alleged

violations of NYLL § 195(1)(a) harmed them. Rather, they ostensibly assert that the harm they

purportedly suffered as a result of the alleged NYLL § 191 violations—i.e., “that they have been


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paid wages in an untimely manner”—is sufficient to create standing on their NYLL § 195 claims.

(See ECF No. 89-1 ¶ 24.) That is not the law. As the Supreme Court has repeatedly recognized,

“standing is not dispensed in gross; rather, plaintiffs must demonstrate standing for each claim that

they press and for each form of relief that they seek (for example, injunctive relief and damages).”

TransUnion, 141 S.Ct. at 2208 (collecting cases). Thus, even if Plaintiffs had alleged an injury in

fact sufficient to create standing on their NYLL § 191 claims, absent any harm attributable to

BBB’s alleged violations of NYLL § 195, Hess, Jones, and Lichtman do not have standing to

pursue § 195 claims. Thus, the Court should dismiss those claims.

V.     Plaintiffs Lack a Private Right of Action to Pursue NYLL § 191 Claims.

       A.      There Is No Express Private Right of Action to Enforce NYLL § 191.

       In the TAC, Plaintiffs seek liquidated damages for allegedly late-paid wages, purportedly

pursuant to NYLL §§ 191 and 198. (ECF No. 89-1 ¶¶ 69–78.) NYLL § 191 (“Frequency of

payments”), however, does not provide for any remedy or civil action; thus, for Plaintiffs to sue

for a violation of NYLL § 191, their claims (or remedies) necessarily must be authorized by NYLL

§ 198 (“Costs, remedies”). A review of the plain language of NYLL § 198(1-a) proves that no

such claim or remedy exists.

       A statute’s unambiguous language is the beginning and end of any inquiry into its meaning:

               When interpreting a statute, “a court should always turn first to one,
               cardinal canon before all others. [The Supreme Court has] stated
               time and again that courts must presume that a legislature says in a
               statute what it means and means in a statute what it says there. When
               the words of a statute are unambiguous, then, this first canon is also
               the last: judicial inquiry is complete.”

U.S. v. Worldwide Indus. Enters., Inc., 220 F.Supp.3d 335, 338 (E.D.N.Y. 2016) (quoting

Connecticut Nat. Bank v. Germain, 503 U.S. 249, 254 (1992)); accord Bostock v. Clayton Cnty.,

Ga., 590 U.S. ---, 140 S.Ct. 1731, 1738 (2020) (“This Court normally interprets a statute in accord

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with the ordinary public meaning of its terms at the time of its enactment. After all, only the words

on the page constitute the law.”); Commonwealth of N. Mar. I. v. Canadian Imperial Bank of

Commerce, 21 N.Y.3d 55, 60 (N.Y. 2013) (explaining that, when interpreting a statute, “our

starting point is the language itself, giving effect to the plain meaning thereof”) (internal quotation

marks and citation omitted). Here, the unambiguous text of NYLL § 198 (1-a) authorizes

employees to bring claims for liquidated damages pertaining only to the “underpayment” of wages,

not to the alleged late payment of wages.

        The first two sentences of NYLL § 198(1-a) address the New York State Department of

Labor Commissioner’s authority to bring an enforcement action against employers:

        On behalf of any employee paid less than the wage to which he or she is entitled
        under the provisions of this article, the commissioner may bring any legal action
        necessary, including administrative action, to collect such claim and as part of such
        legal action, in addition to any other remedies and penalties otherwise available
        under this article, the commissioner shall assess against the employer the full
        amount of any such underpayment, and an additional amount as liquidated
        damages, unless the employer proves a good faith basis for believing that its
        underpayment of wages was in compliance with the law. Liquidated damages shall
        be calculated by the commissioner as no more than one hundred percent of the total
        amount of wages found to be due, except such liquidated damages may be up to
        three hundred percent of the total amount of the wages found to be due for a willful
        violation of section one hundred ninety-four of this article.

NYLL § 198(1-a). The third sentence authorizes civil lawsuits by employees or the Commissioner:

        In any action instituted in the courts upon a wage claim by an employee or the
        commissioner in which the employee prevails, the court shall allow such employee
        to recover the full amount of any underpayment, all reasonable attorney's fees,
        prejudgment interest as required under the civil practice law and rules, and, unless
        the employer proves a good faith basis to believe that its underpayment of wages
        was in compliance with the law, an additional amount as liquidated damages equal
        to one hundred percent of the total amount of the wages found to be due, except
        such liquidated damages may be up to three hundred percent of the total amount of
        the wages found to be due for a willful violation of section one hundred ninety-four
        of this article.

Id.



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       As its plain text demonstrates, NYLL § 198(1-a) permits an employee to sue “upon a wage

claim” to recover “the full amount of any such underpayment.” NYLL § 198(1-a). The term

“underpayment” is not defined in NYLL § 198(1-a). But given the commonly understood meaning

of the prefix “under,” it is not surprising that the Merriam-Webster dictionary definition of

“underpay” is “to pay less than what is normal or required.” Underpay, Merriam-Webster’s

Dictionary, https://www.merriam-webster.com/dictionary/underpay (last visited August 1, 2022);

see also State v. Dep’t of Justice, 951 F.3d 84, 106 (2d Cir. 2020), cert. dismissed, 141 S.Ct. 1291

(2021) (providing that words in a statute that are not “statutorily defined” are “properly construed

according to [their] contemporary dictionary definition”) (citations omitted); Yaniveth R. ex rel.

Ramona S. v. LTD Realty Co., 27 N.Y.3d 186, 192 (N.Y. 2016) (“In the absence of a statutory

definition, we construe words of ordinary import with their usual and commonly understood

meaning, and in that connection have regarded dictionary definitions as useful guideposts in

determining the meaning of a word or phrase.”) (internal quotation marks and citation omitted).

Plaintiffs do not allege that they were paid less than what was required. Therefore, they do not

seek to recover an “underpayment.”         Stated differently, the ordinary public meaning of

“underpayment” compares the amount of payment received against the required amount. It says

nothing about the timeliness of any such payment.

       That “underpayment” pertains to amount, and not timeliness, is further supported by the

plain text of NYLL § 198(1-a) in other ways. The first sentence of NYLL § 198(1-a) provides that

the Commissioner shall, in any legal action brought by the Commissioner “[o]n behalf of any

employee paid less than the wage to which he or she is entitled,” “assess against the employer the

full amount of any such underpayment.” NYLL § 198(1-a). The New York Legislature’s use of

the term “such” to modify “underpayment” is a clear reference to the phrase “paid less than the



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wage to which he or she is entitled” appearing earlier in the same sentence. Thus, the Legislature’s

use of the term “such” demonstrates that “underpayment” and “paid less than the wage to which

he or she is entitled” have the same meaning. As a result, “underpayment” cannot mean “late

payment.” See Dep’t of Revenue of Or. v. ACF Indus., Inc., 510 U.S. 332, 342 (1994) (referring

to the “normal rule of statutory construction” that “identical words used in different parts of the

same act are intended to have the same meaning”) (internal quotation marks and citation omitted).

       The same conclusion flows from a close reading of the third sentence of NYLL § 198(1-

a). That sentence provides, in part, that “unless the employer proves a good faith basis to believe

that its underpayment of wages was in compliance with the law,” a prevailing employee can

recover “an additional amount as liquidated damages equal to one hundred percent of the total

amount of the wages found to be due.” NYLL § 198(1-a). That language confirms that the phrases

“underpayment of wages” and “the wages found to be due” have the same meaning. Again, then,

“underpayment” must mean a payment of wages that is “less than … required”—not merely a late

payment of the required amount.

       Likewise, the reference to a “wage claim” in the beginning of the third sentence of NYLL

§ 198(1-a) confirms this reading.      A “wage claim” must be one that seeks to recover an

“underpayment,” and, as explained above, by reference to the first sentence in NYLL § 198(1-a),

an “underpayment” means an employee was “paid less than the wage to which he or she is

entitled.” Accordingly, the “wage claim” referenced in the third sentence of NYLL § 198(1-a) is

one that seeks the difference between the “the wage to which [an employee] is entitled” and the

amount that he or she received. That is not Plaintiffs’ claim here. They do not allege any difference

between the amount of wages they were paid and the amount of wages they were owed, and

therefore, they do not seek a remedy for an “underpayment” pursuant to NYLL § 198(1-a).



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        Finally, the third sentence confirms that an “underpayment” is a prerequisite for a private

suit. Specifically, that sentence does not authorize employees to sue for liquidated damages

generally; rather, it permits them to sue for an “underpayment” and, in the context of such a suit,

to recover “an additional amount” (i.e., a sum in addition to the underpayment) in the form of

liquidated damages. See id. Stated differently, no underpayment, no liquidated damages. As such,

Plaintiffs’ anticipated argument that statutory liquidated damages in an amount equal to 100% of

the alleged late-paid wages are automatic (upon the late payment) and therefore constitutes an

“underpayment” is of no moment.

        Put simply, application of the “plain and settled” meaning of “underpayment” demonstrates

that it does not encompass late, but fully, paid wages. “Less than” does not mean “later than.”

See Bostock, 140 S.Ct. at 1743 (“At bottom, these cases involve no more than the straightforward

application of legal terms with plain and settled meanings.”). In the Supreme Court’s words,

“when the meaning of the statute’s terms is plain,” a court’s “job is at an end.” Bostock, 140 S.Ct.

at 1749. Because the New York Legislature chose to permit a claim under NYLL § 198(1-a) only

for an “underpayment,” not a late payment, BBB respectfully submits that this Court should

enforce the plain language enacted by the New York Legislature. See id. at 1739 (explaining that

Congress “could have” written statute differently in several ways, “[b]ut none of this is the law we

have”); see also id. at 1738 (“If judges could add to, remodel, update, or detract from old statutory

terms inspired only by extratextual sources and our own imaginations, we would risk amending

statutes outside the legislative process reserved for the people’s representatives. And we would

deny the people the right to continue relying on the original meaning of the law they have counted

on to settle their rights and obligations.”) (citation omitted).




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       Notably, before the First Department’s decision in Vega v. CM & Assoc. Constr. Mgmt.,

LLC, 175 A.D.3d 1144 (1st Dep’t 2019), the majority of courts that considered this issue found

that NYLL § 198(1-a) did not create a private right of action to recover liquidated damages in

cases where a wage payment was merely delayed.            See, e.g., Coley v. Vannguard Urban

Improvement Ass’n, Inc., No. 12-CV-5565 (PKC) (RER), 2018 WL 1513628, at *13 (E.D.N.Y.

Mar. 27, 2018) (denying liquidated damages for late wages under § 191 because § 198 does not

provide remedy); Belizaire v. RAV Investigative & Sec. Servs. Ltd., 61 F.Supp.3d 336, 360 n.22

(S.D.N.Y. 2014) (noting that § 198(1-a)’s liquidated damages provision “is geared to afford relief

for unpaid wages, not for late-paid wages”) (citation omitted); Hussain v. Pakistan Int’l Airlines

Corp., No. 11-CV-932, 2012 WL 5289541, at *3 (E.D.N.Y. Oct. 23, 2012) (holding that § 198

provides liquidated damages for “underpayment of wages” but not for “private recovery” for

“technical violations” of pay frequency requirements); Hunter v. Planned Bldg. Servs., Inc., No.

715053/2017, 2018 WL 3392476, at *2–3 (N.Y. Sup. Ct. Queens Cnty. June 20, 2018)

(interpreting § 198(1-a) to provide a private right of action to recover “nonpayment of wages,” not

“for [a] violation of NYLL § 191(1)(a)(i) where the plaintiff has not alleged unpaid wages

exclusive of liquidated damages”).

       In Vega, however, the First Department summarily rejected this line of cases, finding an

express private right of action to enforce NYLL § 191(1)(a)(i). See 175 A.D.3d at 1146. The

Vega court held that the term “underpay” encompassed situations involving late payment. Id. at

1145. Vega recognized that settled statutory interpretation principles require courts to remain

faithful to the “usual and commonly understood meaning” of the relevant statutory text and, in

fact, quoted the Merriam-Webster definition of “underpay.” Id. But it then ignored that definition

by treating “less than” as synonymous with “later than.” Thus, Vega impermissibly “read into the



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statute that which was specifically omitted by the Legislature.” See Canadian Imperial Bank, 21

N.Y.3d at 62.

       Similarly, in Scott v. Whole Foods Market Group, Inc., the court found a private right of

action to enforce NYLL § 191(1)(a) without any analysis of the statutory text. No. 18-CV-0086

(SJF) (AKT), 2019 WL 1559424, at *2–3 (E.D.N.Y. Apr. 9, 2019). That failure to analyze the

plain language of the statute is reason alone to reject Scott. See, e.g., Bostock, 140 S.Ct. at 1738;

Worldwide Indus. Enters., 220 F.Supp.3d at 338; Canadian Imperial Bank, 21 N.Y.3d at 60.

       Respectfully, Vega and Scott are inconsistent with the text of NYLL § 198(1-a). Thus, this

Court should decline to follow those decisions, remain faithful to the statutory text, and find that

Plaintiffs do not have a private right of action to enforce NYLL § 191’s pay frequency provision.

       B.       There Is Likewise No Basis to Imply a Private Right of Action.

       In addition to finding an express right of action to bring pay frequency claims, Scott and

Vega also found an implied right of action to enforce NYLL § 191’s pay frequency requirements.

Vega, 175 A.D.3d at 1146; Scott, 2019 WL 1559424, at *3–4. That conclusion, too, is incorrect.

       To determine whether a private right of action is “‘fairly implied’ in [a] statute and its

legislative history, New York courts consider ‘(1) whether the plaintiff is one of the class for whose

particular benefit the statute was enacted; (2) whether recognition of a private right of action would

promote the legislative purpose; and (3) whether the creation of such a right would be consistent

with the legislative scheme.’” EEOC v. Vamco Sheet Metals, Inc., No. 13 Civ. 6088 (JPO), 2014

WL 2619812, at *7 (S.D.N.Y. June 5, 2014) (quoting Maraia v. Orange Reg’l Med. Ctr., 63 A.D.3d

1113, 1116 (2d Dep’t 2009)). Of these three factors, courts interpreting New York law have

recognized that:

                The third factor “‘is generally the most critical.’” [Carrier v.
                Salvation Army, 667 N.E.2d 328, 329 (N.Y. 1996)] (quoting Brian
                Hoxie’s Painting Co. v. Cato-Meridian Cent. Sch. Dist., 556 N.E.2d
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                  1087, 1089 (N.Y. 1990)). This is because “the Legislature has both
                  the right and the authority to select the methods to be used in
                  effectuating its goals, as well as to choose the goals themselves.
                  Thus, regardless of its consistency with the basic legislative goal, a
                  private right of action should not be judicially sanctioned if it is
                  incompatible with the enforcement mechanism chosen by the
                  Legislature or with some other aspect of the over-all statutory
                  scheme.” Sheehy v. Big Flats Cmty. Day, Inc., 541 N.E.2d 18, 21
                  (N.Y.1989). Accordingly, New York courts have “declined to
                  recognize a private right of action in instances where the
                  Legislature specifically considered and expressly provided for
                  enforcement mechanisms in the statute itself.” [Cruz v. TD Bank,
                  N.A., 2 N.E.3d 221, 226 (N.Y. 2013)] (internal quotation marks and
                  brackets omitted).

Agerbrink v. Model Serv. LLC, No. 14-cv-7841 (JPO), 2015 WL 3750674, at *3 n.5 (S.D.N.Y.

June 16, 2015) (emphasis added).

         Here, the New York Legislature “specifically considered and expressly provided for

enforcement mechanisms” for violations of NYLL § 191—namely, it enacted NYLL § 218(1),

which provides in relevant part:

                  If the commissioner determines that an employer has violated a
                  provision of article six (payment of wages)[3] [or other employment-
                  related laws], the commissioner shall issue to the employer an order
                  directing compliance therewith…. Where the violation is for a
                  reason other than the employer’s failure to pay wages, benefits or
                  wage supplements found to be due, the order shall direct payment to
                  the commissioner of a civil penalty in an amount not to exceed one
                  thousand dollars for a first violation, two thousand dollars for a
                  second violation or three thousand dollars for a third or subsequent
                  violation.

NYLL § 218(1); see also, e.g., Planned Bldg. Servs., 2018 WL 3392476, at *2 (rejecting private

right of action theory and noting that civil penalties are available against employers through

Commissioner of Labor). Indeed, the Court of Appeals recently held that an employee did not

have an implied private right of action to enforce NYLL § 198-b, which prohibits wage kickbacks,


   3
       Article Six of the New York Labor Law includes §§ 191 and 198.


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because the “statutory scheme … expressly provides two robust enforcement mechanisms,”

including an administrative action under § 218, and because the Legislature specifically

enumerated private rights of action to enforce provisions of Article Six in NYLL § 198 without

any reference to NYLL § 198-b. See Konkur v. Utica Acad. of Sci. Charter Sch., 38 N.Y.3d 38,

42–45, reargument denied, 38 N.Y.3d 1002, (N.Y. 2022). The same is true here: the New York

Legislature decided that the Commissioner “shall direct payment” of civil penalties by employers

who violate NYLL § 191 and chose not to authorize employees to recover liquidated damages

under NYLL § 198(1-a) for the same conduct. As a result, the Court should respect the

Legislature’s judgment and not imply a private right of action to enforce NYLL § 191.

       Additionally, the Commissioner of Labor and the State’s Industrial Board of Appeals

(which reviews orders issued by the Commissioner) have recognized, over and over, that violations

of § 191’s pay frequency requirement fall within § 218(1)’s category of a violation “other than …

failure to pay wages.” See, e.g., IKEA U.S., Inc., Order under Arts. 4 & 6 of N.Y. Lab Law (N.Y.

Dep’t of Lab, Div. of Lab. Statistics Oct. 7, 1994) (assessing civil penalty pursuant to § 218 for

violations of § 191(1)(a)); Wah Chan Wong v. Comm’r of Labor, Docket No. PR 12-090,

Resolution of Decision, at 13 (N.Y. Indus. Bd. of Appeals Oct. 26, 2016) (affirming $1,000 civil

penalty for violation of § 191(1)(a)); Sheng Wang Zhang v. Comm’r of Labor, Docket No. PR 12-

180, Resolution of Decision, at 13 (N.Y. Indus. Bd. of Appeals July. 13, 2016) (affirming $1,000

civil penalty for violation of § 191(1)(a)); Popermhem v. Comm’r of Labor, Docket No. PR 13-

153, Corrected and Reissued Resolution of Decision, at 12–13 (N.Y. Indus. Bd. of Appeals Feb.

5, 2016) (affirming $1,000 civil penalty for violation of § 191(1)(a)); cf. also Gerson v. Comm’r

of Labor, Docket No. PR 10-361, Resolution of Decision, at 8 (N.Y. Indus. Bd. of Appeals Nov.

5, 2014) (affirming $1,000 civil penalty for violation of § 191(1)(d), a pay frequency requirement



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pertaining to “clerical and other worker[s]”); Career and Education Consultants, Inc. . Comm’r of

Labor, Docket No. PR 20-047 (N.Y. Indus. Bd. of Appeals Apr. 7, 2021) (post-Vega decision

affirming $1,000 civil penalty for violation of § 191(1)(d)).4 In other words, every single one of

these decisions treated the § 191 violation as one “other than the employer’s failure to pay wages”

and assessed a civil penalty pursuant to § 218(1) consistent with that category of violations. Not

one of them imposed liquidated damages—pursuant to §§ 198(1-a), 218, or any other provision of

the Labor Laws—for the § 191 violation. Thus, consistent with the plain language of these statutes,

the Commissioner of Labor and the Industrial Board of Appeals routinely interpret § 218, rather

than § 198(1-a), as the remedy for violations of § 191’s frequency of pay requirements. And their

interpretation deserves deference. See Bldg. Trades Emps. Educ. Ass’n v. McGowan, 311 F.3d

501, 507 (2d Cir. 2002) (“We defer to a state agency’s interpretation of its own regulations, unless

the interpretation is arbitrary or capricious.”) (citation omitted); Matter of Tommy and Tina, Inc.

v. Dep’t of Consumer Affairs, 95 A.D.2d 724, 724 (1st Dep’t 1983), aff’d, 62 N.Y.2d 671 (N.Y.

1984) (“Absent an arbitrary and capricious regulation or interpretation of said regulations, courts

should defer to the agency.”). The above-cited law suggests a level of deference akin to that in the

case of Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc. See 467 U.S. 837, 844

(1984) (holding an arbitrary and capricious standard should apply to federal agencies interpreting

federal law). Even under the more permissive standards of Skidmore v. Swift & Co., 323 U.S.

134 (1944), the Commissioner of Labor and Industrial Board decisions would be owed deference

on account of the consistency of those decisions over the course of time, the validity of their

reasoning in interpreting the text of the statute, and other persuasive factors. See id. at 140.




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       Copies of the decisions cited in this paragraph are attached to the Ruzal Declaration as Exhibits A to F.


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         In sum, there is no basis for this Court to upend the Legislature’s chosen remedial scheme

(which the Commissioner of Labor and the Industrial Board of Appeals have applied time and time

again) and supplant the Legislature’s judgment with its own.5 Ultimately, the Scott court’s concern

that the absence of a “private right of action under § 191 redressable under § 198” would “leave[]

an aggrieved employee with no recourse” against violations of § 191, Scott, 2019 WL 1559424 at

*2, 4, was neither correct as a matter of law nor a sound basis for implying a private right of

action. See, e.g., Bostock, 140 S.Ct. at 1745 (beliefs about what “the law was meant to do, or

should do” do not “allow [the court] to ignore the law as it is”); id. at 1737 (“When the express

terms of a statute give us one answer and extratextual considerations suggest another, it’s no

contest.”).

         Further, the legislative history demonstrates that that the Legislature never intended to

create a private right of action for liquidated damages to redress an alleged pay frequency violation.

A weekly pay requirement was first enacted in the New York Law in 1890. That law stated:

         Every manufacturing … [and] mercantile … corporation … shall pay weekly, each
         and every employee engaged in its business, the wages earned by such employee
         within six days of the date of such payment…. Any corporation violating any of
         the provisions of this act shall be liable to a penalty not exceeding fifty dollars and
         not less than ten dollars for each violation, to be paid to the people of the state and
         which may be recovered in a civil action; provided an action for such violation is
         commenced within thirty days from the date thereof. The factory inspectors of this
         state, their assistants or deputies may bring an action in the name of the people of
         the state as plaintiff against any corporation which neglects to comply with the
         provisions of this act for a period of two weeks, after having been notified in writing
         by such inspectors, assistants or deputies, that such action will be brought.

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       Notably, this is not the only place in the New York Labor Law where the Legislature chose to create enforcement
mechanisms to be pursued by the State instead of private remedies to be pursued by aggrieved employees. See, e.g.,
Awan v. Durrani, No. 14-cv-4562, 2015 WL 4000139, at *9 n.12 (E.D.N.Y. July 1, 2015) (“[N]o private statutory
right of action exists to enforce [NYLL § 162].”); Hill v. City of New York, 136 F.Supp.3d 304, 351 (E.D.N.Y. 2015),
amended & supplemented by 13-CV-6147 (PKC) (JO), 2019 WL 1900503 (E.D.N.Y. Apr. 29, 2019) (same) (citations
omitted); Chuk on Chan v. Good Chows Inc., No. 16-cv-2794, 2017 WL 6550689, at *2 (S.D.N.Y. Dec. 21, 2017)
(noting that “the NYLL provides only the Commissioner of Labor, not employees themselves, with a cause of action
to enforce” § 195’s requirement of annual wage statements when those were required prior to February 2015)
(collecting cases).


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Session Law 1890, Ch. 388 §§ 1–2.6 Thus, from the beginning, the remedy for violation of the

weekly pay requirement was that a corporation would pay a penalty to the state. The Legislature

authorized the government actors tasked with enforcing the weekly pay provision, the factory

inspectors, to seek those penalties. That same conceptual regulatory scheme has existed since that

first law was enacted, and it still exists today.

           On May 13, 1897, the weekly pay requirement was codified in the Labor Laws, with similar

provisions. N.Y. Gen. Laws, Ch. 32, Art. 1 § 11.7 That version of the law specifically stated:

           Penalty for violation of preceding sections.—If a corporation or joint stock
           association, its lessee or other person carrying on the business thereof, shall fail to
           pay the wages of an employe[e] as provided in this article, it shall forfeit to the
           people of the state the sum of fifty dollars for each such failure, to be recovered by
           the factory inspector in his name of office in a civil action; but an action shall not
           be maintained therefor, unless the factory inspector shall have given to the
           employer at least ten days’ written notice, that such an action will be brought if the
           wages due are not sooner paid as provided in this article.

Id. Again, in that iteration of the law, the penalty provision was a payment to the state.

Significantly, the statute used similar language to the present-day version, i.e., that an action can

be brought only “if the wages due are not sooner paid.” Id. The weekly pay requirement was re-

codified in 1966 as § 191, and again, as with the prior statutes, a private right of action was not

provided. See Session Law 1966, Ch. 548 § 191.8

           Section 198 of the NYLL was first enacted in 1966. In its original form, it was lean as

compared with the modern version. It stated:

           § 198. Costs, remedies. 1. In any action instituted upon a wage claim by an
           employee or the commissioner in which the employee prevails, the court may allow
           such employee in addition to ordinary costs, a reasonable sum, not exceeding fifty

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        A copy of this statute is attached to the Ruzal Declaration as Exhibit G.
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        A copy of this statute is attached to the Ruzal Declaration as Exhibit H.
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        A copy of this statute is attached to the Ruzal Declaration as Exhibit I.


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           dollars for expenses which may be taxed as costs. No assignee of a wage claim,
           except the commissioner, shall be benefited by this provision.
           2. The remedies provided by this article may be enforced simultaneously or
           consecutively so far as not inconsistent with each other.

Since then, § 198 has been amended eight separate times. Through every amendment, the

Legislature has never added language authorizing a private litigant to bring suit for a violation of

§ 191 or otherwise pursue liquidated damages for the late payment of wages. See L.1967, c. 294,

§ 5; L.1967, c. 310, § 1; L.1997, c. 605, § 4, eff. Nov. 16, 1997; L.2009, c. 372, § 1, eff. Nov. 24,

2009; L.2010, c. 564, § 7, eff. April 9, 2011; L.2014, c. 537, §§ 2, 5, eff. Feb. 27, 2015; L.2015,

c. 2, § 3, eff. Feb. 27, 2015; L.2015, c. 362, § 2, eff. Jan. 19, 2016, L.2021, c. 397, § 3, 5, eff. Aug.

19, 2021.9

           In 2010, the Legislature passed the Wage Theft Prevention Act (“WTPA”), which, in part,

amended § 198(1-a) to address the problem of “wage theft” by employers. Specifically, § 198(1-

a) was amended to allow a prevailing employee to recover liquidated damages reflecting “the full

amount of any underpayment,” increased from the previously authorized amount of 25% of any

underpayment. N.Y. Bill Jacket, 2010 S.B. 8380, Ch. 564, Introducer’s Statement, at 000006 (Jun.

29, 2010).10 The Commissioner of Labor supported the passage of the WTPA because of the harm

that “wage theft” caused throughout the economy. Specifically, the Commissioner characterized

the WTPA as “increas[ing] penalties for violation of various provisions of the Labor Law intended

to protect workers from nonpayment and underpayment of wages.” Id., Mem. of Comm’r to the

Governor, at 000009 (Dec. 10, 2010) (emphasis added). In other words, the Commissioner of

Labor recognized that certain provisions of the NYLL are intended to address violations involving




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        A copy of these amendments is attached to the Ruzal Declaration as Exhibit J.
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         A copy of this document is attached to the Ruzal Declaration as Exhibit K.


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“nonpayment and underpayment,” while others are intended to address other types of violations

that do not involve nonpayment or underpayment. Further, the Commissioner stated that the

WTPA was intended to penalize employers that (i) paid employees less than the minimum wage

or their agreed-upon wage; (ii) created a competitive disadvantage for law-abiding employers by

reducing the cost of their own business; and (iii) hurt the state and local economy by reducing

wages that would otherwise “make their way into the economy and generate income and sales

taxes.” Id. at 000010. Again, this history confirms that the Legislature designed the enhanced

penalties in § 198(a-1) to deter the non-payment of wages, not the routine payment of wages on a

bi-weekly pay schedule, as Plaintiffs allege here.

        Given the absence of any evidence whatsoever that the Legislature has ever intended to

create a private right of action to pursue liquidated damages for allegedly late-paid wages, the

courts in Vega and Scott wrongly inferred that the legislative purpose of §§ 191 and 198(1-a)

would be furthered by finding an implied right. In combination with those courts’ failures to

consider § 218(1), their misapprehension of the legislative purpose of these statutes is another

reason to reject their holdings regarding the creation of an implied right of action. Accordingly,

the Court should dismiss Plaintiffs’ § 191 claims.

VI.     The Fourteenth Amendment’s Due Process Clause Bars the Relief Plaintiffs Seek.

        “The Supreme Court long ago held that a penalty assessed pursuant to a statute violates

the Due Process Clause if it is ‘so severe and oppressive as to be wholly disproportioned to the

offense and obviously unreasonable.’” Golan v. FreeEats.com, Inc., 930 F.3d 950, 962 (8th Cir.

2019) (quoting St. Louis, I.M. & S. Ry. Co. v. Williams, 251 U.S. 63, 67 (1919)). Here, Plaintiffs’

claims violate this well-established principle.




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       Beginning with the NYLL § 191 claims, Plaintiffs’ proffered misinterpretation of NYLL §

198(1-a) as permitting employees to recover liquidated damages in the amount of 100% of late-

paid wages, even though they were ultimately paid those wages in full, violates the Fourteenth

Amendment’s Due Process Clause. Although Plaintiffs have not alleged any actual harm, they

seek to recover, on behalf of themselves and putative class members, over $5 million. (ECF No.

89-1 ¶ 6.) In Missouri Pacific Railway Co. v. Tucker, the Supreme Court found a remarkably less

drastic disparity between actual damages and statutorily mandated liquidated damages inconsistent

with due process. There, a railway charged a consignee $3.02 more than a statutory rate schedule

allowed to transport petroleum products. 230 U.S. 340, 346 (1913). The consignee sued seeking

$500 in statutory liquidated damages. Id. The Supreme Court found that the statute’s liquidated

damages provision violated due process because the amount was “not only grossly out of

proportion to the possible actual damages, but [was] so arbitrary and oppressive that its

enforcement would be nothing short of the taking of property without due process of law.” Id. at

351. In finding a due process violation, the Court noted that the liquidated damages provision was

“not proportioned to the actual damages,” unlike statutes allowing “double or treble damages,”

which the Court noted “properly could have been done.” Id. at 348. The same is true here.

       Properly construed, NYLL § 198(1-a) permits the recovery of double damages—namely,

the recovery of the amount of an underpayment as actual damages plus an additional amount equal

to 100% of the amount of the underpayment as liquidated damages. See NYLL § 198(1-a). So, if

an employee was underpaid by $500, she may recover $500 in actual damages and an additional

$500 in liquidated damages. Here, by contrast, Plaintiffs do not seek double the amount of an

actual underpayment. Instead, they seek a windfall in the amount of 100% of their late-paid wages

as liquidated damages in the absence of any actual damages. Because they were paid all of the



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wages owed to them for each work week of their employment, the amount they seek is untethered

to the actual harm, if any, they may have suffered, and is arbitrary and greatly exceeds the bounds

of reasonableness prescribed by due process. Thus, the Court should dismiss their NYLL § 191

claims.

          Turning to the NYLL § 195 claim, Plaintiffs seek to recover $50 for each day BBB

allegedly failed to provide them with proper wage-theft notices, up to a maximum of $5,000. (See

ECF No. 89-1 ¶ 86.) In Southwest Telephone and Telegraph Co. v. Danaher, the Supreme Court

found that a statutory penalty of $100 per day imposed for 63 days violated due process where the

plaintiff’s only harm was being without telephone service for 40 days and overcharged for service

by 50¢ for 23 days. 238 U.S. 482, 486, 491 (1915). Here, the Plaintiffs do not—and cannot—

allege that the BBB’s alleged violations of NYLL § 195 harmed them at all. As such, penalizing

BBB with penalties of $50 per day, up to $5,000 per class member, for more than 1,000 putative

class members is arbitrary, oppressive, and inconsistent with due process. (See ECF No. 89-1 ¶

22.) Hence, the Court should dismiss these claims as well.

                                         CONCLUSION

          For the foregoing reasons, the Court should dismiss Plaintiffs’ Third Amended Complaint.




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August 12, 2022                       EPSTEIN BECKER & GREEN, P.C.

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